                     Case 1-17-41814-ess                   Doc 170          Filed 09/16/19             Entered 09/16/19 12:17:41




                                           UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF NEW YORK, BROOKLYN DIVISION



In re Gallant Capital Markets                                                             Case No. 17-41814-ess
      Debtor                                                                     ReportingPeriod: August
                                                                                                   @ts 1, 2019 - August 31, 2019
                                                                                Federal Tax I.D.   #   None

                                           CORPORATE MONTHLY OPERATING REPORT

     File with the Court and submit a copy to the United States Trustee within 20 days after the end of the month and
     submit a copy of the report to any official committee appointed in the case.




     REQUIRED DOCUMENTS                                                              Form No.           Document       Explanation
                                                                                                        Attached       Attached
     Schedule of Cash Receipts and Disbursements                                MOR-I                          X
     Bank Reconciliation (or copies ofdebtor's bank reconciliations)            MOR-I (CON'T)                  X
        Copies of bank statements                                                                              x
        Cash disbursements .journals
     Statement of Operations
                                                                                TvtoR-2
                                                                                                               X      I      x
     Balance Sheet                                                               MOR.3                                       x
     Status of Post-petition Taxes                                               MOR-4                        N/A
        Copies of IRS Form 6123 or payment receipt                                                            N/A
        Copies of tax retums filed during reporting period
     Summary of Unpaid Post-petition Debts
                                                                                IMOR-4
                                                                                                              N/A
                                                                                                               X
        Listing of Aged Accounts Payable
     Accounts Receivable Reconciliation and Aging
                                                                                TMOR-5
                                                                                                               X
                                                                                                               X
     Taxes Reconciliation and Aging                                              MOR-5                         X
     Payments to Insiders and Professional                                       MOR.6                         X
     Post Petition Status ofSecured Notes, Leases Payable                        MOR.6                         x
     Debtor Questionnaire                                                        MOR-7                         X

     I declare under penalty ofperjury (28 U               1746) that this report and the attached documents
     are true and correct to the best                      belief.

               of           ll                                                                         Date         ? ?

     Signature of Authorized Individual*                                                               Date

     Printed Name of Authorized Individual                                                             Date

     *Authorized individual must be an officer, director or shareholder ifdebtor is a corporation; a partner ifdebtor is a
     partnership; a manager or member if debtor is a limited liability company.
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Avenica, Inc. Debtor
Case No. 17-41813-ESS

Gallant Capital Markets, Ltd., Debtor
Case No. 17-41814-ESS

Esther DuVal, Chapter 11 Trustee
Notes to Monthly Operating Report



    1.      General

On April 14, 2017, Gallant Capital Markets, Ltd. (BVI Company Number 1531907) and Avenica Inc. (each
the “Debtor” or collectively, the “Debtors”), filed voluntary petitions for relief under Chapter 11 of title 11
of the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern
District of New York (the “Bankruptcy Court”).

On May 30, 2017, the Bankruptcy Court entered an Order appointing Esther DuVal as the Chapter 11
Trustee of the Debtor.

On August 29, 2017, the Bankruptcy Court entered an amended order directing a joint administration of the
Debtors’ estates.


    2.      Monthly Operating Report Disclosures

This report contains unaudited information. The Trustee exercised her best efforts to ensure the accuracy
of the data based on the information that was available and identifiable at the time of preparation, including,
but not limited to, bank account statements, and the statement of financial affairs filed with the Bankruptcy
Court that was prepared by the Debtors. Further, all of the Debtor’s books and records may not have been
available to the Trustee at the time the monthly operating report was prepared and the information contained
in the available books and records may not be complete and may be inaccurate. Accordingly, the reader is
cautioned not to place undue reliance upon information contained in this monthly operating report.
Subsequent information or the discovery of additional information may result in changes to the monthly
operating report. Accordingly, the Trustee reserves all rights to amend, supplement and update as may be
necessary or appropriate.

        Cash Basis
These reports are prepared utilizing the cash basis of accounting. As such, MOR-1 and MOR -1 (CONT)
were prepared and certain sub-schedules were included with known and available information.

        Accounts Payable
The Trustee has annexed all identifiable post-petition accounts payable at the end of the MOR reporting
date. The Trustee’s investigation is ongoing, however, and the Trustee may later discover accounts payable
due and owing by the Debtor during this operating period. The Trustee will supplement or update as deemed
necessary on a going forward basis.
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In re Gallant Capital Markets                                                                                Case No. 17-41814-ess
      Debtor                                                                                        Reporting Period: August 1, 2019 - August 31, 2019

                             SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the four bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                                       BANK ACCOUNTS


                                                                                  MMA                     CHECKING                   DIP             CURRENT MONTH ACTUAL (TOTAL
                                                                                  (6366)                    (6367)                  (0498)                OF ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)

     CASH BEGINNING OF MONTH                                             $      1,366,797.48        $           1,767.67      $              -       $              1,368,565.15
     RECEIPTS
     CASH SALES                                                                                                                                                              -
     ACCOUNTS RECEIVABLE - PREPETITION                                                                                                                                       -
     ACCOUNTS RECEIVABLE - POSTPETITION                                                                                                                                      -
     RECOVERY OF ESTATE ASSETS                                                               -                                                                               -
     LOANS AND ADVANCES                                                                                                                                                      -
     SALE OF ASSETS                                                                                                                                                          -
     OTHER - (INTEREST)                                                                    57.87                                                                           57.87
     TRANSFERS (FROM TRUSTEE ACCTS)                                                                             5,500.00                                                5,500.00
     TRANSFERS (FROM DIP ACCTS)                                                                                                                                              -
     TRANSFERS (FROM AVENICA TO GALLANT )                                                                                                                                    -
       TOTAL RECEIPTS                                                    $                 57.87    $           5,500.00      $              -       $                  5,557.87
     DISBURSEMENTS
     NET PAYROLL                                                                                                                                                             -
     PAYROLL TAXES                                                                                                                                                           -
     SALES, USE, BENEFIT & OTHER TAXES                                                                                                                                       -
     INVENTORY PURCHASES                                                                                                                                                     -
     SECURED/ RENTAL/ LEASES                                                                                                                                                 -
     INSURANCE                                                                                                                                                               -
     ADMINISTRATIVE                                                                                             7,160.88                                                7,160.88
     SELLING                                                                                                                                                                 -
     OTHER (FEES)                                                                                                                                                            -
     OWNER DRAW *                                                                                                                                                            -
     TRANSFERS (TO TRUSTEE ACCTS)                                                     5,500.00                                                                          5,500.00
     TRANSFERS (TO DIP ACCTS)                                                                                                                                                -
     TRANSFERS (FROM GALLANT TO AVENICA )                                                                              -                                                     -
     PROFESSIONAL FEES                                                                                                                                                       -
     U.S. TRUSTEE QUARTERLY FEES                                                                                       -                                                     -
     COURT COSTS                                                                                                                                                             -
     TOTAL DISBURSEMENTS                                                 $            5,500.00      $           7,160.88      $              -       $                 12,660.88

     NET CASH FLOW
                                                                                    (5,442.13)                 (1,660.88)                    -                         (7,103.01)
     (RECEIPTS LESS DISBURSEMENTS)

     CASH – END OF MONTH                                                 $      1,361,355.35        $              106.79     $        -             $              1,361,462.14
     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE                                                CLOSED

                                    THE FOLLOWI NG SECTI ON M UST BE COM PLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS                                                                            $                               12,660.88
      LESS: TRANSFERS TO TRUSTEE ACCOUNTS
                                                                                                                                     5,500.00
       PLUS: ESTATE DISBURSEMENTS MADE BY OUTSIDE
                                                                                                                                                 -
     SOURCES (i.e. from escrow accounts)
     TOTAL DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE
     QUARTERLY FEES                                                                                 $                                7,160.88
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In re Gallant Capital Markets                                                     Case No. 17-41814-ess
      Debtor                                                             Reporting Period: August 1, 2019 - August 31, 2019

                                                           BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted for this page.
     (Bank account numbers may be redacted to last four numbers.)


                                                 MMA                       CHECKING                            DIP
                                                  (6366)                       (6367)                          (0498)
     BALANCE PER                        $        1,361,355.35        $                  106.79
                                                                                                   $                             -
     BOOKS

     BANK BALANCE                       $        1,361,355.35        $                  106.79     $                             -
     (+) DEPOSITS IN
     TRANSIT (ATTACH                                             -                            -                                  -
     LIST)
     (-) OUTSTANDING
     CHECKS (ATTACH                                              -                            -                                  -
     LIST) :
     OTHER (ATTACH
                                                                 -                            -                                  -
     EXPLANATION)

     ADJUSTED BANK                      $        1,361,355.35        $                  106.79
                                                                                                   $                             -
     BALANCE *
     *"Adjusted Bank Balance" must equal "Balance per Books"


     DEPOSITS IN TRANSIT                           Date                       Amount                            Date                    Amount




     CHECKS OUTSTANDING                           Ck. #                       Amount                           Ck. #                    Amount




                                                                     $                       -


     OTHER
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In re Gallant Capital Markets                                                                                    Case No. 17-41814-ess
      Debtor                                                                                            Reporting Period: August 1, 2019 - August 31, 2019

                                                                        STATUS OF POST-PETITION TAXES
     The beginning tax liability should be the ending liability from the prior month or, if this is the first report, the
     amount should be zero.
     Attach photocopies of IRS Form 6123 or payment receipt to verify payment or deposit of federal payroll taxes.
     Attach photocopies of any tax returns filed during the reporting period.

                                                                       Amount
                                              Beginning Tax            Withheld    Amount Paid                     Date Paid      Check # or EFT       Ending Tax
     Federal                                                        and/or Accrued
     Withholding
     FICA-Employee
     FICA-Employer
     Unemployment
     Income                                          N/A
     Other:_____________
       Total Federal Taxes
     State and Local
     Withholding
     Sales
     Excise
     Unemployment
     Real Property
     Personal Property
     Other:_____________
      Total State and Local

     Total Taxes

                                                              SUMMARY OF UNPAID POST-PETITION DEBTS
     Attach aged listing of accounts payable.
                                                                                               Number of Days Past Due
                                                    Current                0-30*                31-60                61-90            Over 91             Total
     Accounts Payable                         $          770.31 $                   -     $              -     $             -    $ 189,725.57     $              190,495.88
     Wages Payable
     Taxes Payable
     Rent/Leases-Building
     Rent/Leases-Equipment
     Secured Debt/Adequate
     Protection Payments
     Professional Fees
     Amounts Due to Insiders
     Other:______________
     Other:______________
     Total Post-petition Debts                $          770.31 $                   -     $              -     $             -    $ 189,725.57     $              190,495.88
     Explain how and when the Debtor intends to pay any past due post-petition debts.
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In re Gallant Capital Markets                                                            Case No. 17-41814-ess
      Debtor                                                                    Reporting Period: August 1, 2019 - August 31, 2019


                                            ACCOUNTS RECEIVABLE RECONCILIATION AND AGING

                        Accounts Receivable Reconciliation                               Amount
     Total Accounts Receivable at the beginning of the reporting period              $     35,422.72
     Plus: Amounts billed during the period                                                      -
     Less: Amounts collected during the period                                                   -
     Total Accounts Receivable at the end of the reporting period               $          35,422.72


     Accounts Receivable Aging                                     0-30 Days         31-60 Days            61-90 Days       91+ Days          Total
     0 - 30 days old
     31 - 60 days old
     61 - 90 days old
     91+ days old                                                                                                                              35,422.72
     Total Accounts Receivable                                                                                                                 35,422.72

     Less: Bad Debts (Amount considered uncollectible)                                                                                         35,422.72

     Net Accounts Receivable                                                                                                              $           -



                                                          TAXES RECONCILIATION AND AGING

     Taxes Payable                                                 0-30 Days         31-60 Days            61-90 Days       91+ Days          Total
     0 - 30 days old
     31 - 60 days old
     61 - 90 days old
     91+ days old
     Total Taxes Payable
     Total Accounts Payable                                    $          770.31 $               -     $            -   $    189,725.57   $   190,495.88
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In re Gallant Capital Markets                                                                                    Case No. 17-41814-ess
      Debtor                                                                                            Reporting Period: August 1, 2019 - August 31, 2019


                                                                PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                                         INSIDERS
                                     NAME                                      TYPE OF PAYMENT               AMOUNT PAID                    DATE




                                    NONE




                                                                 TOTAL PAYMENTS TO INSIDERS




                                                                                              PROFESSIONALS
                                                                               DATE OF COURT
                                                                                                                                                                             TOTAL INCURRED &
                                     NAME                                    ORDER AUTHORIZING AMOUNT APPROVED                          AMOUNT PAID     TOTAL PAID TO DATE
                                                                                                                                                                                 UNPAID*
                                                                                 PAYMENT




                                    NONE




                                                        TOTAL PAYMENTS TO PROFESSIONALS                  $                  -       $              -    $            -       $           -
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



                            POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                                     AND ADEQUATE PROTECTION PAYMENTS

                                                                                SCHEDULED
                                                                                                              AMOUNT PAID          TOTAL UNPAID POST-
                            NAME OF CREDITOR                                 MONTHLY PAYMENT
                                                                                                             DURING MONTH              PETITION
                                                                                   DUE




                                      N/A




                                                                                TOTAL PAYMENTS
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In re Gallant Capital Markets                                                             Case No. 17-41814-ess
      Debtor                                                                     Reporting Period: August 1, 2019 - August 31, 2019



                                            DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                     Yes                   No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of                                  
   1   business this reporting period?
       Have any funds been disbursed from any account other than a debtor in                                  
   2   possession account this reporting period?
       Is the Debtor delinquent in the timely filing of any post-petition tax                                 
   3   returns?
       Are workers compensation, general liability or other necessary                                         
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?
   5   Is the Debtor delinquent in paying any insurance premium payment?                                      
       Have any payments been made on pre-petition liabilities this reporting                                 
   6   period?
       Are any post petition receivables (accounts, notes or loans) due from                                  
   7   related parties?
   8   Are any post petition payroll taxes past due?                                                          
   9   Are any post petition State or Federal income taxes past due?                                          
  10   Are any post petition real estate taxes past due?                                                      
  11   Are any other post petition taxes past due?                                                            
  12   Have any pre-petition taxes been paid during this reporting period?                                    
  13   Are any amounts owed to post petition creditors delinquent?                                                   *
  14   Are any wage payments past due?                                                                        
       Have any post petition loans been been received by the Debtor from                                     
  15   any party?
  16   Is the Debtor delinquent in paying any U.S. Trustee fees?                                              
       Is the Debtor delinquent with any court ordered payments to attorneys                                  
  17   or other professionals?
       Have the owners or shareholders received any compensation outside of                                   
  18   the normal course of business?

       * See Notes to Monthly Operating Report
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     In re Gallant Capital Markets                                                                              Case No. 17-41814-ess
           Debtor                                                                                      Reporting Period: August 1, 2019 - August 31, 2019


                                                                     CASH DISBURSEMENTS

  Date           Account             Check #                                    Payee                                             Amount
8/8/2019       XXXXXX6366            Transfer   From MMA to Checking                                                      $            5,500.00
                                                                                          Total ACCT # 6366 - August 2019 $            5,500.00

8/6/2019       XXXXXX6367             158       Arthur B. Levine Company                                                  $              4,599.00
8/6/2019       XXXXXX6367             159       DataInStream                                                                               770.31
8/6/2019       XXXXXX6367             Wire      SoftLayer Technologies                                                                   1,791.57
                                                                                          Total ACCT # 6367 - August 2019 $              7,160.88

                                                                                                                    Total               12,660.88
                                                                                                     Less Account Transfer              (5,500.00)
                                                                                                             Grand Total $               7,160.88
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             Rabobank, N,A.                                                                         lI/bob,rnk, Fl.A-
             PO Box 6010                                                                            l enbe{ FDIC
             Santa Maria, CA 93456-6010                                                             NMLS',64947f
             www.Ra boban kAmerica.com
Rababank     Return Service Bequested
                                                                                             Period Covered:
                                                                           August 01,2019 - August 31,2019
                                                                                                   Page 1 of 4



Esther DuVal                                          Case Number                         17-41814-ESS
1065 Avenue of the Americas                           Case Name          GALLANT CAPITAL MARKETS, LTD.
1Oth Floor                                            Trustee Number
NewYork NY'10018                                      Trustee Name                             Esther DuVal

                                                                                               L   Questions
                                                                                               (800) 634-7734
                                                                                banking.services@stretto.com
                                                                                           www.stretto.com




CONSOLIDATED BALANCE SUMMARY
                                                                   Ending Balance          Ending Balance
  Account                                             Number
                                                                      Prior Period             This Period
Checking Account
 TRUSTEE CHECKING
Money Market
                                                  fosoz                    $1,767.67                $106.79

 MONEY MARKET                                     I6366                $1,366,797.48         $1,361,355.35

  Total                                                                $1,368,565.15          $1,361,462.14




Notable Information For You...
Rabobank, N.A, has announced a merger with Mechanics Bank, which is expected to have an effective
date of September 1, 2019. Shortly after this date, Strefto Irusfees will begin lo see the Rabobank logo
replaced with the Mechanics Bank logo on bank statements, as well as other official bank documents.
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                      IN CASE OF ERRORS OR QUESTIONS

                       REGARDIN G YOU R STATEMENTS

                         Telephone us at (800) 465-2415
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                Rabobank, N,A.
                PO Box 6010
                Santa Maria, CA 93456-6010
                www.Raboba nkAmerica.com
Rabobank        Return Service Requested
                                                                                                              Period Covered:
                                                                                             August 01,2019 - August 31,2019
                                                                                                                   Page2 of 4


Esther DuVal                                                    Case Number                              17-41814-ESS
1065 Avenue of the Americas                                     Case Name               GALLANT CAPITAL MARKETS. LTD.
1Oth Floor                                                      Trustee Number
New York NY 10018                                               Trustee Name                                       Esther DuVal

                                                                                                                  L   Questions
                                                                                                                 (8OO) 634-7734
                                                                                                 ban   king.services@strefto.com
                                                                                                               www.stretto.com




TRUSTEE CHECKING                                                                               Account Number:      Iogoz
Enclosures                                                  2      Beginning Balance                                    s1,767.67
Avg Collected Balance                               $2,073.00         + Total Additions                                 $5,500.00
                                                                      - Total Subtractions                              $7,160.88
                                                                   Ending Balance                                         $106.79


                                                                                        " lndicates a Skip in Check Number(s)
Checks                                                                                        "E" lndicates an Electronic Check

 Gheck #          Date        Amount        Check #       Date        Amount
          158     08-16        4,599.00            159    08-1 5         770.31

Debits

Date      Description                                                                                              Subtractions
08-12    WIRE TRANSFER-OUT SOFTLAYER TECHNOLO 2O19O812L2B77Y.1COO OO49                                                   1,791.57

Credits

Date      Description                                                                                                  Additions
08-08     INTERNET/PHONE TRSFR TRANSFER FROM DEPOSIT SYSTEM ACCOUNT ******6366                                           5,500.00

Daily Balances

Date                             Amount Date                                Amount    Date                              Amount
07-31                             1,767-67 08-12                             5,476.10 08-16                                106.79
08-08                             7,267-67 08-15                             4,705.79
            Case 1-17-41814-ess                                                        Doc 170                        Filed 09/16/19       Entered 09/16/19 12:17:41




 s
                               Rabobank, N,A.
                               PO Box 6010
                               Santa Maria, CA 93456-6010
                               www.RabobankAmerica.com
Rababank                       ReturnServiceBequested
                                                                                                                                                   Account   Number   !0f02
                                                                                                                                                                  Period Covered:
                                                                                                                                                 August 01,2019 - August 31,2O1S
                                                                                                                                                                       Page 3 of 4



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08/1 6/1 9                                                          #158                                          $4,599.00     08116119           #158                  $4,599.00



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 08115119                                                           #1 59                                           $770.31     08/15/19           #1 59                   $770.31
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             Rabobank, N.A.
             PO Box 6010
             Santa Maria, C A 93456- 6010
             www.RabobankAmerica.com
Rabobank     ReturnServiceRequested
                                                                                                               Period Covered:
                                                                                            August 01 , 2019 - August 31,2019
                                                                                                                    Page 4 ot 4



Esther DuVal                                                    Case Number                            17-41814-ESS
1065 Avenue of the Americas                                     Case Name             GALLANT CAPITAL MARKETS, LTD.
1Oth Floor                                                      Trustee Number
New York NY 10018                                               Trustee Name                                     Esther DuVal

                                                                                                                L   Questions
                                                                                                                (800) 634-7734
                                                                                                ban king.seruices@stretto.com
                                                                                                            www.stretto.com




MONEY MARKET                                                                                  Account Number:     lsse
Enclosures                                                 0      Beginning Balance                               $1,366,797.48
Avg Collected Balance                         $1,362,539.00          + Total Additions                                    $s7.87
lnterest Paid Year to Date                          $280.69          - Total Subtractions                              $5,500.00
                                                                  Ending Balance                                  $1 ,361,355.35



Debits

Date     Description                                                                                             Subtractions
08.08    TRANSFER DEBIT TRANSFER TO DEPOSIT SYSTEM ACCOUNT ******6367                                                  5,500.00

Gredits

Date     Description                                                                                                 Additions
08-31    INTEREST CREDIT                                                                                                   57.87

Daily Balances

Date                             Amount Date                               Amount Date                                 Amount
07-31                        1,366,797.48 08-08                        '1,361,297.48 08-31                          1,361,355.35

lnterest lnformation

Annual percentage yield earned                        0.05%
lnterest bearing days                                     3'l
Average balance for APY                       $1,362,539.42
lnterest earned                                       $s7.87
